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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                              Case No. 1:16-CR-62

v.                                                     Hon. Paul L. Maloney

GUSTAVO RAMIRO AGUNA-ROSA,

               Defendant.
                                               /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on July 19, 2016, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant Gustavo Ramiro Aguna-Rosa is charged in Counts 1 and 2 of a

Superseding Indictment with conspiracy to commit mail fraud and health care fraud. On the basis

of the record made at the hearing, I found that defendant was competent to enter pleas of guilty and

that the pleas were knowledgeable and voluntary with a full understanding of each of the rights

waived by the defendant, that the defendant fully understood the nature of the charges and the

consequences of his pleas, and that the defendant's pleas had sufficient bases in fact which contained

all of the elements of the offenses charged.

               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the


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parties.

               Accordingly, I accepted the pleas of guilty, subject to final acceptance of the pleas

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Counts 1 and 2 of the Superseding Indictment be accepted, that the court adjudicate the

defendant guilty of those charges, and that the written plea agreement be accepted at, or before, the

time of sentencing.



Dated: July 19, 2016                          /s/ Ray Kent
                                              RAY KENT
                                              United States Magistrate Judge




                                     NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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